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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,
                                                  CR Action
                 Plaintiff,                       No. 1:21-386-2

          vs.                                     Washington, DC
                                                  September 24, 2021
  PAULINE BAUER,
              Defendant.
  __________________________/                     11:30 a.m.



                     TRANSCRIPT OF MOTION HEARING
                BEFORE THE HONORABLE TREVOR N. McFADDEN
                     UNITED STATES DISTRICT JUDGE


  APPEARANCES:

  For the Plaintiff:          AMANDA FRETTO
                              JIM D. PETERSON
                                 U.S. ATTORNEY'S OFFICE FOR D.C.
                                 555 4th Street NW
                                 Washington, DC 20530
                                 202-252-7268



  For Deft. (standby):           CARMEN D. HERNANDEZ
                                 7166 Mink Hollow Road
                                 Highland, MD 20777
                                 240-472-3391




  Reported By:        LORRAINE T. HERMAN, RPR, CRC
                      Official Court Reporter
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                      Washington, DC 20001
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1                  COURTROOM DEPUTY:     This is Criminal Case 21-386-2,

2      United States of America versus Pauline Bauer.

3                  Can the parties identify themselves for the

4      record, starting with the government.

5                  MS. FRETTO:    Good morning, Your Honor.       Amanda

6      Fretto and Jim Peterson on behalf of the United States.

7                  THE COURT:    Good morning, folks.

8                  MS. BAUER:    Give me a minute.     I'm sorry.

9                  THE COURT:    Good morning, Ms. Bauer.

10                 MS. BAUER:    Good morning.

11                 I am here, Your Honor, by special appearance,

12     calling for a constitutional court of record, a summary

13     judgment of truth and facts, to settle this matter here

14     today before the Court.

15                 THE COURT:    All right.

16                 MS. BAUER:    I'm not finished.

17                 THE COURT:    I'm sorry.    You can have a seat,

18     ma'am.

19                 MS. BAUER:    Can you give this to the Judge,

20     please?

21                 THE COURT:    I need to have you sit down for a

22     moment.

23                 MS. HERNANDEZ:     Good morning, Your Honor.      Carmen

24     Hernandez, standby counsel.

25                 MS. BAUER:    Objection.    She is not my counsel.
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1                  THE COURT:    Good morning, Ms. Hernandez.

2                  All right.    So, Ms. Bauer, here is where things

3      are.   I feel very comfortable with my decision last week to

4      revoke your bond.     You have shown here in this courtroom

5      kind of a complete disregard for the Court, and you've

6      shown, by your conduct outside and refusal to follow my

7      directions, a complete unwillingliness to follow even very

8      basic conditions of release.

9                  MS. BAUER:    Sir --

10                 THE COURT:    More, the government has presented

11     evidence in your charges that you've shown kind of a

12     contempt for the rule of law.        So all of this makes me feel

13     very comfortable under the law that I can and probably

14     should have you in custody.

15                 MS. BAUER:    God gave me dominion over the land --

16                 THE COURT:    Ma'am, one of the ways I can figure

17     out whether I can trust you or not is whether you can follow

18     even basic courtroom decorum here, and one of those things

19     is not speaking over me.

20                 I am willing to give you a last opportunity to

21     convince me that I can trust you to follow my conditions of

22     release and allow you to be in the community rather than

23     remaining in custody.      So I am happy to hear from you.

24                 I want you to understand where things stand here;

25     that your track record so far has shown me that you believe
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1      you are above the law; and that you are not willing to

2      follow my conditions of release.        If you've had a change of

3      heart, this is your opportunity to demonstrate that.              You

4      can come to the podium, ma'am.

5                  MS. BAUER:    I, Pauline, from the House of Bauer, a

6      woman, a living soul, as judiciary, as sui juris, as just

7      soley.    My status is clearly defined in Genesis 1:24 through

8      28, where God created man in the likeness of himself.             He

9      created all the little creatures on the land, and he created

10     all of the birds in the air and all of the fish in the

11     water.    And he gave man dominion over the land, the air and

12     the water and that is law.

13                 In 1983, President Reagan signed into public

14     law, 97280 --

15                 THE COURT:    Ma'am, if you want to talk about the

16     Bible -- ma'am.     Ma'am.    Excuse me.    If you want to talk

17     about the Bible, the Bible is full of references about

18     people being --

19                 MS. BAUER:    The Bible is also public law 97280,

20     sir --

21                 THE COURT:    Please.    Do not interrupt me.

22                 The Bible is full of references of people being in

23     subjection to the authorities over them.          Romans 13 jumps to

24     mind, about ministers of justice being there to do you good,

25     and therefore you should respect them.
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1                  MS. BAUER:    Your Honor, I'm here as a friend of

2      the Court.    I just spent a week of my life in jail because I

3      won't agree to your rules, codes, statutes, ordinance,

4      bylaws and tacit agreement.       You told me you don't know what

5      a tacit agreement is.      It's in the Black's Law Dictionary.

6      So are you telling me that you are ignorant of the law?           I

7      am not trying to be mean or anything, but is that what you

8      are telling me?

9                  THE COURT:    You are certainly not hurting my

10     feelings.    This is your opportunity to convince me that I

11     can trust you to be out in the community.

12                 MS. BAUER:    Under Title 8, Section 1101(a)(21) and

13     (23), sir, I have diplomatic immunity -- limited diplomatic

14     immunity.    I am not a person.      I am not a citizen.     And I am

15     not a resident.

16                 THE COURT:    Okay.   And so as you believe you have

17     diplomatic immunity, I take it that means you don't need to

18     follow the law?

19                 MS. BAUER:    I am innocent until proven guilty.

20     And they don't even have any evidence.         We are nine months

21     into this case.

22                 THE COURT:    Okay.   That's a different point,

23     ma'am.    I agree that you are innocent until proven guilty

24     but --

25                 MS. BAUER:    I have no prior convictions.       I don't
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1      want to agree to a tacit agreement, and I don't want to

2      agree to a standby attorney, sir.        I'm not trying to be

3      difficult.

4                  I have -- I've done nothing but work all my life

5      for what I have, and I could lose it all right now because

6      you threw me in jail for a week.

7                  You know, every day is precious in life.         I stood

8      at the window.     First of all, I am not suicidal.        God gave

9      me a day to come into this world, and he will take me out.

10     Okay?   But you threw me in a suicide ward for three days.

11                 A suicidal woman does not take vitamins every day,

12     does not eat properly and does not exercise regularly.             A

13     suicidal woman wears this on their face all day long in a

14     jail cell breathing in their own carbon dioxide.           Okay?

15                 I'm just asking for the mercy of the Court to let

16     me go home.    I don't do anything.

17                 THE COURT:    All right.    So let's talk about that.

18     Are you willing to allow probation to do a --

19                 MS. BAUER:    Sir, I just told you, under Title 8,

20     Section 1101(a)(21) and (23) -- I don't want to agree to a

21     tacit agreement.     That puts me in a bar court.        I am asking

22     for a constitutional court.       Are you deriving your oath of

23     office over me through a bar court or through a

24     constitutional court, sir?

25                 THE COURT:    Ma'am, we are not going to have this
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1      back-and-forth about the jurisdiction of the Court.           I am

2      very comfortable in my jurisdiction.         If you do not

3      recognize my jurisdiction, then that is a problem for you,

4      not for me.

5                  MS. BAUER:    You know, it's pretty clear that we

6      are not going to go anywhere, here, so can we just take this

7      to an appellate court?

8                  THE COURT:    You are welcome to do that.

9                  All right.    I think we already have a status

10     conference set.     Ms. Fretto, do we have another date set

11     here?

12                 MS. FRETTO:    Yes, Your Honor, we do.       It is --

13                 THE COURT:    Until October 29th?

14                 MS. FRETTO:    Yes.

15                 THE COURT:    I think Ms. Bauer is not even

16     acknowledging the motion filed by Ms. Hernandez, who is

17     working hard on your behalf, ma'am, but I am denying the

18     motion for reconsideration for all of the reasons that I

19     stated on the record before.       And, frankly, your conduct

20     here today shows that you believe you have diplomatic

21     immunity, that you are not willing to abide by the

22     conditions that I've described or even general expectations

23     of courtroom demeanor, here.

24                 Ms. Hernandez?

25                 MS. HERNANDEZ:     Good morning, Your Honor.
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1                  Your Honor, just for the record, last Friday after

2      court I spoke with Ms. Bauer, and she told me that I could

3      tell the Court that she was willing to allow for the virtual

4      home inspection and would make those phone calls.           She just

5      didn't want to sign anything, because she believes that that

6      has some tacit agreement effect.        She explicitly told me

7      those two things.

8                  So if the Court -- I understand what has just

9      happened, but if the Court would allow me one moment to ask

10     her if she is revoking that decision or whether -- I don't

11     know if that will get us somewhere.

12                 As I put in there, she has letters from a lot of

13     community people who speak incredibly highly of her.              Her

14     sister is here again.      She has been here each time.       It is a

15     very sad situation.      This woman apparently contributes to

16     her community, has a business.        I know a lot of people don't

17     like lawyers.     I think she could be a productive member in

18     her community.     It's sad that she would be taking up space

19     in a jail cell.

20                 And it also creates problems.       If she wants to

21     self-represent, it's going to be impossible for her to

22     review discovery.     The government produced this morning a

23     flash drive with materials, but the jail is telling us that

24     if we sent those materials over to the jail, it takes four

25     to six weeks for them to even be able to review them.             I
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1      understand there's 12 laptops at the jail for everyone to

2      use.    So it's a problem.

3                  I understand I may be arguing too much, which I

4      often do, but I just think it's a tragedy if Ms. Bauer has

5      to go back to jail today when all she has to do is make one

6      phone call a week to pre-trial services and allow for a

7      virtual home visit.

8                  Pauline, are you willing to do that so you can go

9      home?

10                 MS. BAUER:    I would be willing to do that if you

11     could tell me that wasn't a tacit agreement.

12                 THE COURT:    Ma'am, I'm not trying to beg you to do

13     anything.    I've made my decision.      This is your opportunity

14     to convince me that I should reconsider that decision.

15                 MS. BAUER:    Yes, sir, I think you should

16     reconsider that decision.

17                 THE COURT:    And on what basis?

18                 MS. BAUER:    On the basis that I am not a danger to

19     society, sir.

20                 THE COURT:    I've already said I'm not terribly

21     worried about you being a danger to society.          I am worried

22     about you --

23                 MS. BAUER:    Then I can't understand why you need

24     me to do all of these things.

25                 THE COURT:    Ma'am, again, I don't have to convince
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1       you of anything.     You have to convince me that I can trust

2       you.

3                  MS. BAUER:     What about my constitutional rights?

4                  THE COURT:     I'm sorry, ma'am.     I am not going to

5       debate with you.     Last chance.

6                  MS. HERNANDEZ:     Pauline, you will just make one

7       phone call a week and do a virtual home inspection.           That's

8       it.    Say yes, please.

9                  THE COURT:     Are you going to follow my directions,

10      Ms. Bauer?

11                 MS. BAUER:     You know, judgment day is going to

12      come for all of you that are doing things to make money off

13      of mankind.

14                 THE COURT:     I will take that as a no.

15                 Marshals, remove the defendant.        I will see you

16      all on October 29th.

17                 (Proceedings concluded at 11:42 a.m.)

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1                              C E R T I F I C A T E

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3                        I, Lorraine T. Herman, Official Court

4       Reporter, certify that the foregoing is a true and correct

5       transcript of the record of proceedings in the

6       above-entitled matter.

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9

10       October 19, 2021                    ___/s/___________________
                   DATE                        Lorraine T. Herman
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